        Case 18-28499-CMG                        Doc 3 Filed 09/18/18 Entered 09/18/18 02:45:57                              Desc Ch 7
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Information to identify the case:

Debtor 1:
                      Ronnie C. Ryder                                            Social Security number or ITIN:   xxx−xx−8084
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:             Rebecca J. Ryder                                           Social Security number or ITIN:   xxx−xx−6834
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

United States Bankruptcy Court:        District of New Jersey                    Date case filed for chapter:        7       9/17/18

Case number:           18−28499−CMG

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the party's
correct address, resend the returned notice, and notify this office of the party's change of address. Failure to provide
all parties with a copy of this notice may adversely affect the debtor as provided by the Bankruptcy Code.

                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Ronnie C. Ryder                                      Rebecca J. Ryder

2.        All other names used in the
          last 8 years

3.      Address                                  17 Partridge Run                                     17 Partridge Run
                                                 Washington, NJ 07882                                 Washington, NJ 07882

4.      Debtor's attorney                        Joan Sirkis Warren                                   Contact phone 908−850−6161
                                                 Lavery & Sirkis
        Name and address                         699 Washington St
                                                 Suite 103
                                                 Hackettstown, NJ 07840

5.      Bankruptcy trustee                       Andrea Dobin                                         Contact phone (609) 695−6070
                                                 Trenk DiPasquale
        Name and address                         427 Riverview Plaza
                                                 Trenton, NJ 08611


                                                                                                               For more information, see page 2 >
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Debtor Ronnie C. Ryder and Rebecca J. Ryder                                                                         Case number 18−28499−CMG


6. Bankruptcy clerk's office                   402 East State Street                                          Hours open: 8:30 AM − 4:00 p.m.,
                                               Trenton, NJ 08608                                              Monday − Friday (except holidays)
   Documents in this case may be filed at this Additional information may be available at the
   address. You may inspect all records filed Court's Web Site:                                               Contact phone 609−858−9333
   in this case at this office or online at    www.njb.uscourts.gov.
   www.pacer.gov. (800) 676−6856
                                                                                                              Date: 9/18/18

7. Meeting of creditors                           October 17, 2018 at 10:30 AM                                Location:

   Debtors must attend the meeting The meeting may be continued or adjourned to a                             Clarkson S. Fisher Federal
   to be questioned under oath. In a later date. If so, the date will be on the court                         Courthouse, 402 East State
   joint case, both spouses must     docket.                                                                  Street, Room 129, Trenton, NJ
   attend. Creditors may attend, but                                                                          08608−1507
   are not required to do so.

   All individual debtors must provide picture
   identification and proof of social security
   number to the trustee at the meeting of
   creditors. Failure to do so may result in
   your case being dismissed.


8. Presumption of abuse                           The presumption of abuse does not arise.

   If the presumption of abuse arises, you
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. §
   707(b). Debtors may rebut the
   presumption by showing special
   circumstances.


9. Deadlines                                  File by the deadline to object to discharge or                  Filing deadline: 12/17/18
                                              to challenge whether certain debts are
   The bankruptcy clerk's office must receive dischargeable:
   these documents and any required filing
   fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).

                                                  WRITING A LETTER TO THE COURT OR THE
                                                  JUDGE IS NOT A SUBSTITUTE FOR FILING
                                                  AN ADVERSARY COMPLAINT OBJECTING TO
                                                  DISCHARGE OR DISCHARGEABILITY. IN NO
                                                  CIRCUMSTANCE WILL WRITING A LETTER
                                                  PROTECT YOUR RIGHTS.


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
   Please do not file a proof of claim unless     will send you another notice telling you that you may file a proof of claim and stating the
   you receive a notice to do so.                 deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
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12. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will
                                              not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                              exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                              www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                              debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                              objection by the deadline to object to exemptions in line 9.
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